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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY

Caption in Compliance with D.N.J. LBR 9004-1(b)

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                                                                           Case No.:                 20-20524
                                                                                                __________________
In Re:
 ZAYAT STABLES LLC                                                         Chapter:                     7
                                                                                               ___________________

                                                                           Hearing Date: __________________

                                                                           Judge:                     VFP
                                                                                               __________________


                           APPLICATION FOR ORDER SHORTENING TIME


                                   Stephen B. Ravin, Esq.
           The applicant ________________________________________, on behalf of
        the Petitioning Creditors
   ________________________________ requests that the time period to/for
       Motion to Appoint Trustee
   ________________________________                    D.N.J. LBR 9013-2
                                    as required by _________________________ be shortened
   pursuant to Fed. R. Bankr. P 9006(c)(1), for the reason(s) set forth below:

           1.       A shortened time hearing is requested because:
                      To allow an independent fiduciary, looking out for the benefit of all creditors, to take immediate control
                      of the assets of the Alleged Debtor and to prevent any further sales without a thorough unbiased
                      investigation and evaluation of the circumstances of each horse and any other collateral.
           2.       State the hearing dates requested:
                    September 22, 2020

           3.       Reduction of the time period is not prohibited under Fed. R. Bankr. P 9006(c)(1).


           The applicant requests entry of the proposed order shortening time.



         9/17/2020
   Date: ___________________                                          /s/ Stephen B. Ravin
                                                                      _______________________________
                                                                      Signature

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